               Case 3:22-cv-00533-SI        Document 14                Filed 06/10/22   Page 1 of 5



     ELLEN F. ROSENBLUM
     Attorney General
     NINA R. ENGLANDER #106119
     SHAUNEE MORGAN #194256
     Assistant Attorney General
     Department of Justice
     100 SW Market Street
     Portland, OR 97201
     Telephone: (971) 673-1880
     Fax: (971) 673-5000
     Email: Nina.Englander@doj.state.or.us
             Shaunee.Morgan@doj.state.or.us

     Attorneys for Defendant State of Oregon




                                  IN THE UNITED STATES DISTRICT COURT

                                      FOR THE DISTRICT OF OREGON



     PORTLAND GENERAL ELECTRIC                               Case No. 3:22-cv-00533-SB
     COMPANY, an Oregon corporation,
                                                             DEFENDANT STATE OF OREGON'S
                     Plaintiff,                              ANSWER

                                                             JURY TRIAL DEMANDED
              v.

     STATE OF OREGON, by and through THE
     OREGON DEPARTMENT OF STATE
     LANDS, and +/- FIVE ACRES OF
     UNIMPROVED LAND ALONG THE
     WILLAMETTE RIVER NEAR WEST LINN,
     OREGON,

                     Defendants.
              In response to Plaintiff’s Complaint (ECF No. 1), Defendants admit, deny, and allege as

     follows:

                                                    I. Parties

              Defendants admit the allegations in Section I.A (Plaintiff). In response to Section I.B

     (Defendants), Defendants deny that Department of State Lands (DSL) Director Vicki Walker is

     identified as a Defendant in the case caption, but otherwise admit the allegations.
Page 1 -   DEFENDANT STATE OF OREGON'S ANSWER
           NE/bs4/
                                                     Department of Justice
                                                    100 SW Market Street
                                                      Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000
               Case 3:22-cv-00533-SI         Document 14               Filed 06/10/22   Page 2 of 5




                                           II. Basis of Jurisdiction

              Section II states a legal conclusion which requires no response.

                                           III. Statement of Claim

              In response to Section III, Defendants admit, deny and allege as follows:

              1.     In response to the first sentence of Paragraph 1, Defendants admit that PGE owns

     some, but not all, of the real property and improvements depicted on Exhibit A. Defendants

     admit upon information and belief that PGE has operated the Hydroelectric Facility for over a

     century and admit the remaining allegations in the second and third sentences of Paragraph 1.
     The fourth sentence of Paragraph 1 is a legal conclusion which requires no response. Defendants

     admit the allegations in the fifth sentence of Paragraph 1.

              2.     Paragraph 2 is a legal conclusion which requires no response.

              3.     In response to the first sentence of Paragraph 3, Defendants deny any allegations

     that are inconsistent with the FERC license, which is the best evidence of its contents and speaks

     for itself. Defendants admit the allegations in the second and third sentences of Paragraph 3.

              4.     In response to Paragraph 4, which characterizes the FERC license, Defendants

     deny any allegations that are inconsistent with the FERC license, which is the best evidence of

     its contents and speaks for itself. To the extent that Paragraph 4 states Plaintiff’s legal

     interpretation of the FERC license, that allegation is a legal conclusion that requires no response.

              5.     In response to Paragraph 5, Defendants admit that the State of Oregon, acting

     through its Department of State Lands, has asserted that it owns portions of the Property.

              6.     Paragraph 6 states legal conclusions which require no response. To the extent that

     Paragraph 6 contains any allegations of material fact, they are denied.

              7.     Paragraph 7 constitutes a legal conclusion, which requires no response, and/or

     characterizes the Complaint, which is the best evidence of its contents and speaks for itself.

              8.     Defendants are without knowledge sufficient to form a belief as to the truth of the

     allegations in Paragraph 8 and on that basis deny the same.

Page 2 -   DEFENDANT STATE OF OREGON'S ANSWER
           NE/bs4/
                                                     Department of Justice
                                                    100 SW Market Street
                                                      Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000
               Case 3:22-cv-00533-SI         Document 14               Filed 06/10/22   Page 3 of 5




              9.     In response to Paragraph 9, Defendants are without knowledge sufficient to form

     a belief as to the truth of the allegations regarding the adoption of the Board of Director’s

     resolution, and on that basis deny the same. Defendants admit the remaining allegations in

     Paragraph 9.

              10.    Defendants admit the allegations in the first sentence of Paragraph 10. In response

     to the second sentence of Paragraph 10, Defendants admit that the amount of the offer was

     $150,000.00 but deny that this is full and adequate compensation for PGE’s acquisition of the

     Property.
              11.    In response to Paragraph 11, Defendants admit that DSL has not accepted PGE’s

     offer and that, to date, PGE has been unable to contract with DSL for acquisition of title to the

     Property. Defendants are without knowledge sufficient to form a belief as to the truth of the

     remaining allegations in Paragraph 11 and on that basis deny the same.

              12.    Paragraph 12 states legal conclusions which require no response and/or

     characterizes the Complaint, which is the best evidence of its contents and speaks for itself.

              13.    Defendants deny the allegations in Paragraph 13.

              14.    Defendants admit the allegations in Paragraph 14.

                                                    IV. Relief

              Section IV states Plaintiffs’ requested relief, which requires no response.

                                         V. Certification and Closing

              Section V states counsel’s certification, which requires no response.

                                            VI.      General Denial

     Defendants deny each and every allegation in the Complaint that is not expressly admitted.

     //

     //

     //

     //

Page 3 -   DEFENDANT STATE OF OREGON'S ANSWER
           NE/bs4/
                                                     Department of Justice
                                                    100 SW Market Street
                                                      Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000
               Case 3:22-cv-00533-SI        Document 14                Filed 06/10/22   Page 4 of 5




                                          VII. Objections/Defenses

                                                First Objection

                                    (Failure to Demonstrate Necessity)

              1.     The Complaint fails to allege facts sufficient to show the uses for which the

     property is to be taken pursuant to Fed. R. Civ. P. 71.1(2)(B) and to demonstrate that the

     Property is necessary to the construction, maintenance, or operation of the Project under 16

     U.S.C. § 814.

                                              Second Objection
                                               (Compensation)

              2.     Plaintiffs’ written offer made to Defendants before filing the Complaint does not

     constitute just compensation for the Property.

                                               Third Objection

                                          (Insufficient Description)

              3.     Defendant DSL asserts fee title ownership in portions of the Property. Plaintiff’s

     maps and legal description of the Property do not sufficiently identify the areas it seeks to

     condemn in relation to these interests (e.g., through metes and bounds descriptions, GIS

     mapping, etc.) See Fed. R. Civ. P. 71.1(2)(C).

                                           VIII. Demand for Fees

              1.     If the Court finds that Plaintiff cannot acquire the Property by condemnation or

     Plaintiff abandons the proceeding, Defendants are entitled to recover reasonable attorneys’ fees,

     expert fees, appraisal fees and reasonable costs and disbursements incurred, along with interest

     in this matter under 42 U.S.C. § 4654(a), or any other applicable law.

              WHEREFORE, having fully responded to the Complaint, the Defendants hereby request

     the following relief:

              1. Dismissal of the claims with prejudice;



Page 4 -   DEFENDANT STATE OF OREGON'S ANSWER
           NE/bs4/
                                                     Department of Justice
                                                    100 SW Market Street
                                                      Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000
               Case 3:22-cv-00533-SI         Document 14               Filed 06/10/22   Page 5 of 5




              2. Judgment in the Defendants’ favor, together with an award of costs and expenses

     incurred herein;

              3. For an award of just compensation for the property interests taken;

              4. For an award of attorneys’ fees and other legal expenses;

              5. Such other relief the Court deems just and equitable.

                                       IX.     Demand for Jury Trial

              Pursuant to Fed. R. Civ. P. 71.1(h)(1), Defendants demand a jury trial on compensation.


              DATED June 10 , 2022.

                                                           Respectfully submitted,

                                                           ELLEN F. ROSENBLUM
                                                           Attorney General



                                                               s/ Nina Englander
                                                           NINA R. ENGLANDER #106119
                                                           SHAUNEE MORGAN #194256
                                                           Assistant Attorneys General
                                                           Trial Attorneys
                                                           Tel (971) 673-1880
                                                           Fax (971) 673-5000
                                                           Nina.Englander@doj.state.or.us
                                                           Shaunee.Morgan@doj.state.or.us
                                                           Of Attorneys for Defendant State of Oregon




Page 5 -   DEFENDANT STATE OF OREGON'S ANSWER
           NE/bs4/
                                                     Department of Justice
                                                    100 SW Market Street
                                                      Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000
